     Case 1:02-cr-00029-MP-GRJ           Document 134         Filed 11/30/07      Page 1 of 1


                                                                                         Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                                  CASE NO. 1:02-cr-00029-MP
                                                                    CASE NO. 1:06-cr-00041-MP

SHEILA GILLINS,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 133, Motion to Continue Sentencing, filed by

Defendant Sheila Gillins. In her motion, Defendant Gillins states that the sentencing of her co-

defendant has been continued, and because both defendants share the same mitigation witnesses,

Defendant Gillins requests that her sentencing be continued to coincide with the sentencing date

of Defendant Reed. The Government does not object to the motion to continue. Therefore, after

considering the matter, the Court grants Defendant Gillins’ motion. Accordingly, Defendant

Gillins’ sentencing hearing is reset for Friday, February 8, 2008, at 9:00 a.m.



       DONE AND ORDERED this             30th day of November, 2007


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
